Case 1:20-cv-03010-APM Document 542-4 Filed 03/13/23 Page 1 of 7




                Exhibit G
Case 1:20-cv-03010-APM Document 542-4 Filed 03/13/23 Page 2 of 7
Case 1:20-cv-03010-APM Document 542-4 Filed 03/13/23 Page 3 of 7
Case 1:20-cv-03010-APM Document 542-4 Filed 03/13/23 Page 4 of 7
Case 1:20-cv-03010-APM Document 542-4 Filed 03/13/23 Page 5 of 7
Case 1:20-cv-03010-APM Document 542-4 Filed 03/13/23 Page 6 of 7
Case 1:20-cv-03010-APM Document 542-4 Filed 03/13/23 Page 7 of 7
